  Case 1:18-cr-00407-TSE Document 51-1 Filed 10/18/22 Page 1 of 2 PageID# 245



                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA

                                        Alexandria Division


UNITED STATES OF AMERICA
                                                          Case No. 1:18-CR-407
               v.
                                                          The Honorable T. S. Ellis, III
ALEKSANDR BROVKO,

                      Defendant.


                                              ORDER

       Upon motion of the United States pursuant to Local Criminal Rule 49, the Court finds that

sealing of the documents accompanying the Motion to Seal is necessary to prevent disclosure of

information contained in the documents, including information that if disclosed, would jeopardize

an ongoing criminal investigation, place witnesses or agents in jeopardy, or lead to the destruction

of evidence. The Court finds that this interest outweighs any competing interest in the public’s right

of access. Accordingly, it is hereby

       ORDERED that the government’s motion is granted. The Court has the inherent power to

seal materials submitted to it. See United States v. Wuagneux, 683 F.2d 1343, 1351 (11th Cir.

1982); State of Arizona v. Maypenny, 672 F.2d 761, 765 (9th Cir. 1982); Times Mirror Company v.

United States, 873 F.2d 1210 (9th Cir. 1989); see also Shea v. Gabriel, 520 F.2d 879 (1st Cir. 1975);

United States v. Hubbard, 650 F.2d 293 (D.C. Cir. 1980); In re Braughton, 520 F.2d 765, 766 (9th

Cir. 1975). “The trial court has supervisory power over its own records and may, in its discretion,

seal documents if the public’s right of access is outweighed by competing interests.” In re Knight

Pub. Co., 743 F.2d 231, 235 (4th Cir. 1984). Sealing the attached documents is appropriate where

there is a substantial probability that the release of the sealed documents would compromise the
  Case 1:18-cr-00407-TSE Document 51-1 Filed 10/18/22 Page 2 of 2 PageID# 246



government’s on-going investigation severely. See e.g. In re Search Warrant for Secretarial Area

Outside Office of Gunn, 855 F.2d 569, 574 (8th Cir. 1988); Matter of Eye Care Physicians of

America, 100 F.3d 514, 518 (7th Cir. 1996); Matter of Flower Aviation of Kansas, Inc., 789 F.

Supp. 366 (D. Kan. 1992).

       The United States and the Court have considered alternatives less drastic than sealing and

have found none that would suffice to protect the information subject to sealing.

       It is further ORDERED that the motion filed under seal remain sealed until there is no

longer a need for continued sealing. The government will file a motion to unseal the documents as

soon as circumstances permit unsealing.

       It is SO ORDERED.




                                                 Honorable T.S. Ellis, III
                                                 United States District Judge


Date: _________________
      Alexandria, Virginia




                                                  2
